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 8                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
 9
                            WESTERN DIVISION
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11
     ROBERT BOLLA,                       ) Case No.: 2:20-cv-06792-KES
12                                       )
13              Plaintiff,               ) [PROPOSED] JUDGMENT
          vs.                            )
14                                       )
15   KILOLO KIJAKAZI,                    )
     Acting Commissioner of Social       )
16   Security,                           )
17                                       )
                Defendant.               )
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                                         )
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     Case 2:20-cv-06792-KES Document 29 Filed 11/18/21 Page 2 of 2 Page ID #:809



 1         Having approved the Stipulation to Voluntary Remand Pursuant to Sentence
 2   Four of 42 U.S.C. § 405(g),
 3         IT IS ORDERED that judgment is entered in accordance with the Order of
 4   Remand.
 5
 6
     DATE: November 18, 2021
 7
                                   HONORABLE KAREN E. SCOTT
 8                                 UNITED STATES MAGISTRATE JUDGE
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